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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )       8:07CR264
       vs.                                             )
                                                       )       PRELIMINARY ORDER
TIMOTHY NOER,                                          )       OF FORFEITURE
                                                       )
                       Defendant.                      )



       NOW ON THIS 18th day of September, 2007, this matter comes on before the Court upon

the United States' Motion for Issuance of Preliminary Order of Forfeiture and Memorandum Brief.

The Court reviews the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement, whereby he has agreed to plead guilty

to Counts I and III of said Indictment. Count I of said Indictment charges the Defendant with

conspiracy to distribute methamphetamine, a violation of 21 U.S.C. § 846. Count III of said

Indictment charges the Defendant with using $2,000.00 in United States currency to facilitate the

commission of the conspiracy and charges said personal property is derived from proceeds obtained

directly or indirectly as a result of the commission of the conspiracy.

       2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject property,

and the United States should be entitled to possession of said property, pursuant to 21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.
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        B. Based upon Count III of the Indictment and the Defendant's plea of guilty, the United

States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize the $2,000.00

in United States currency.

        C. The Defendant's interest in said property is hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.,

§ 853(n)(1).

        D. The aforementioned forfeited property is to be held by the Marshal in his secure custody

and control.

        E. Pursuant to 21 U.S.C., § 853(n)(1), the Marshal forthwith shall publish at least once for

three successive weeks in a newspaper of general circulation, in the county where the subject

property is situated, notice of this Order, notice of the Marshal's intent to dispose of the property in

such manner as the Attorney General may direct, and notice that any person, other than the

Defendant, having or claiming a legal interest in any of the subject forfeited property must file a

Petition with the court within thirty (30) days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 18th day of September, 2007.


                                                        BY THE COURT:

                                                        /s Joseph F. Bataillon

                                                        JOSEPH F. BATAILLON, CHIEF JUDGE
                                                        United States District Court




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